                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18      PageID.1441   Page 1 of 30




                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF MICHIGAN
                                                  SOUTHERN DIVISION

                         WENDELL SHANE MACKEY,

                               Plaintiff,
                                                                      Case No. 2:17-cv-12359
                         v.
                                                                      JUDGE BERNARD A. FRIEDMAN
                         JAMES MICHAEL BERRYMAN,
                         Mayor of the City of Adrian, Michigan;       MAGISTRATE DAVID R. GRAND
                         MARGARET M.S. NOE, Judge of the
                         Lenawee County Circuit Court,

                               Defendants.

                         HADDAD LAW FIRM, PLC                         ROSATI, SCHULTZ, JOPPICH &
Haddad Law Firm, PLC.




                         By: Issa G. Haddad (P71699)                  AMTSBUECHLER PC
                         Attorney for Plaintiff                       By: Holly S. Battersby (P72023)
                         30600 Telegraph Road, Suite 3150                  Laura S. Amtsbuechler (P36972)
                         Bingham Farms, Michigan 48025                Attorney Defendant Margaret Noe
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                                      PLAINTIFF’S RESPONSE TO DEFENDANT
                                  BERRYMAN’S MOTION TO QUASH THE DOCUMENT
                              PRODUCTION SUBPOENA DIRECTED TO AMERITRUST GROUP
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18        PageID.1442   Page 2 of 30




                               NOW COMES Plaintiff, Wendell Mackey, by and through counsel, Issa

                         Haddad and requests that the Court deny Defendant Berryman’s Motion to Quash

                         the Document Production Subpoena Directed to Ameritrust Group. Plaintiff

                         incorporates his brief in support of this motion by reference.

                                                                    Respectfully submitted,

                                                                   /s/ Issa G. Haddad
                                                                   ______________________________
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                                                               By: Issa G. Haddad (P71699)
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                         Dated: December 12, 2018                  issa@haddlaw.com




                                                                  -2-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18      PageID.1443   Page 3 of 30




                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF MICHIGAN
                                                  SOUTHERN DIVISION

                         WENDELL SHANE MACKEY,

                               Plaintiff,
                                                                      Case No. 2:17-cv-12359
                         v.
                                                                      JUDGE BERNARD A. FRIEDMAN
                         JAMES MICHAEL BERRYMAN,
                         Mayor of the City of Adrian, Michigan;       MAGISTRATE DAVID R. GRAND
                         MARGARET M.S. NOE, Judge of the
                         Lenawee County Circuit Court,

                               Defendants.

                         HADDAD LAW FIRM, PLC                         ROSATI, SCHULTZ, JOPPICH &
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                         Attorney for Plaintiff                       By: Holly S. Battersby (P72023)
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                                              BRIEF IN SUPPORT OF
                                      PLAINTIFF’S RESPONSE TO DEFENDANT
                                  BERRYMAN’S MOTION TO QUASH THE DOCUMENT
                              PRODUCTION SUBPOENA DIRECTED TO AMERITRUST GROUP
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18     PageID.1444   Page 4 of 30




                                       CONCISE STATEMENT OF ISSUES PRESENTED

                               I.    WHETHER THE COURT SHOULD DENY DEFENDANT
                                     BERRYMAN’S REQUEST TO QUASH PLAINTIFF’S
                                     SUBPOENA AND TO ISSUE A PROTECTIVE ORDER
                                     WHERE IT IS UNTIMELY?

                                    Plaintiff Answers: Yes.

                                    Defendant Berryman Presumably Answers: No.


                               II. WHETHER THE DOCUMENTS REQUESTED IN
                                   PLAINTIFF’S NOVEMBER 6, 2018, SUBPOENA TO THE
                                   CITY OF ADRIAN’S INSURER, AMERITRUST GROUP,
                                   MUST BE DISCLOSED BECAUSE THE ATTORNEY-
                                   CLIENT PRIVILEGE DOES NOT APPLY?
Haddad Law Firm, PLC.




                                    Plaintiff Answers: Yes.

                                    Defendant Berryman Answers: No.


                               III. WHETHER THE DOCUMENTS REQUESTED IN
                                    PLAINTIFF’S NOVEMBER 6, 2018, SUBPOENA TO THE
                                    CITY OF ADRIAN’S INSURER, AMERITRUST GROUP,
                                    MUST BE DISCLOSED BECAUSE THE ATTORNEY
                                    WORK PRODUCT PRIVILEGE DOES NOT APPLY?

                                    Plaintiff Answers: Yes.

                                    Defendant Berryman Answers: No.




                                                               ii
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18   PageID.1445   Page 5 of 30




                                     CONCISE STATEMENT OF ISSUES PRESENTED


                               IV. WHETHER THE DOCUMENTS REQUESTED IN
                                   PLAINTIFF’S NOVEMBER 6, 2018, SUBPOENA TO THE
                                   CITY OF ADRIAN’S INSURER, AMERITRUST GROUP,
                                   IS RELEVANT AND PROPORTIONAL TO THE NEEDS
                                   OF THE CASE?

                                  Plaintiff Answers: Yes.

                                  Defendant Berryman Answers: No.
Haddad Law Firm, PLC.




                                                              iii
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18                            PageID.1446          Page 6 of 30




                                                             INDEX OF AUTHORITIES

                         Cases                                                                                                   Page(s)

                         Am. Elec. Power Co., Inc. v. U.S.,
                          191 F.R.D. 132 (S.D. Ohio 1999) ..................................................................... 1, 4

                         Atlanta International Ins. Co. v. Bell,
                           475 N.W.2d 294 (1991) ........................................................................................ 8

                         Central Michigan Bd. of Trustees v. Employers Reinsurance Corp.,
                          117 F. Supp. 2d 627 (E.D. Mich. 2000) ............................................................... 8

                         Cooey v. Strickland,
                          269 F.R.D. 643 (S.D. Ohio 2010) ................................................................ 11, 12

                         E.E.O.C. v. Texas Hydraulics, Inc.,
                           246 F.R.D. 548, 554 (E.D. Tenn. 2007) ............................................................... 7
Haddad Law Firm, PLC.




                         Glidden Co. v. Jandernoa,
                          173 F.R.D. 459 (W.D. Mich. 1997) .................................................................... 12

                         Guy v. United Healthcare Corp.,
                          154 F.R.D. 172 (S.D. Ohio 1993) ....................................................................... 13

                         Hendricks v. Total Quality Logistics, L.L.C.,
                          275 F.R.D. 251, 253 (S.D. Ohio 2011) ................................................................ 3

                         Herbert v. Lando,
                          441 U.S. 153 (1979) ........................................................................................... 17

                         Humphreys, Hutcheson and Moseley v. Donovan,
                          755 F.2d 1211 (6th Cir. 1985) ............................................................................ 10

                         In re Grand Jury Investigation No. 83-2-35,
                           723 F.2d 447 (6th Cir. 1983) ....................................................................... 1, 3, 7

                         In re Haynes,
                           577 B.R. 711 (Bankr. E.D. Tenn. 2017) ............................................................. 14


                                                                                 iv
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18                               PageID.1447          Page 7 of 30




                                                              INDEX OF AUTHORITIES

                         Cases                                                                                                       Page(s)

                         Jaffee v. Redmond,
                           518 U.S. 1 (1996) ................................................................................................. 6

                         Kirschner v. Process Design Associates, Inc.,
                           592 N.W.2d 707 (Mich. 1999) ............................................................................. 8

                         Koster v. June’s Trucking, Inc.,
                          625 N.W.2d 82, 84 (Mich. App. 2000) ................................................................ 9

                         McClarty v. Gudenau,
                          173 B.R. 586 (E.D. Mich. 1994) .......................................................................... 8

                         Med. Ctr. at Elizabeth Place, LLC v. Premier Health Partners,
                          294 F.R.D. 87 (S.D. Ohio 2013) ......................................................................... 17
Haddad Law Firm, PLC.




                         Oppenheimer Fund, Inc. v. Sanders,
                          437 U.S. 340 (1978) ........................................................................................... 16

                         Schlagenhauf v. Holder,
                           379 U.S. 104 (1964) ........................................................................................... 17

                         Trammel v. U.S.,
                           445 U.S. 40 (1980) ............................................................................................... 6

                         U.S. v. Leggett & Platt, Inc.,
                           542 F.2d 655 (6th Cir. 1976) .............................................................................. 17

                         U.S. v. Zolin,
                           491 U.S. 554 (1989) ........................................................................................... 14

                         Upjohn Co. v. U.S.,
                          449 U.S. 383 (1981) ........................................................................................... 10

                         Wright v. Jeep Corp.,
                          547 F. Supp. 871 (E.D. Mich. 1982) .................................................................. 13


                                                                                   v
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18                                 PageID.1448           Page 8 of 30




                                                               INDEX OF AUTHORITIES

                         Cases                                                                                                         Page(s)

                         Zigler v. Allstate Ins. Co.,
                           2007 WL 1087607 (N.D. Ohio Apr. 9, 2007) ...................................................... 9


                         Rules

                         FED. R. CIV. P. 26 ................................................................................................... 16

                         FED. R. CIV. P. 45 ..................................................................................................... 4

                         MICH. R. PROF. CON., Rule 3.3 ................................................................................ 2
Haddad Law Firm, PLC.




                         Treatises

                         C. Wright, LAW OF FEDERAL COURTS (2d ed. 1970) ............................................. 17




                                                                                    vi
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18          PageID.1449    Page 9 of 30




                                                      STATEMENT OF FACTS

                               On November 6, 2018, Plaintiff issued a subpoena to AmeriTrust Group,

                         seeking to obtain the claims file pertaining to the state court proceeding as well as

                         to this proceeding. Ex. A.

                               On November 28, 2018, Defendant Berryman filed a Motion to Quash the

                         Document Production Subpoena Directed to Ameritrust Group (Doc No. 28),

                         claiming the claims file is “undeniably confidential” because it is protected by both

                         the attorney-client privilege as well as the attorney work-product privilege. Ex. B.

                         Defendant Berryman further claims that the claims files materials are somehow not
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                         relevant to this matter, notwithstanding the fact that these materials directly relate

                         and pertain to both the state court proceedings and this proceeding. Id.

                                                      STANDARD OF REVIEW

                               “The burden of establishing the existence of the privilege rests with the

                         person asserting it.” In re Grand Jury Investigation No. 83-2-35, 723 F.2d 447

                         (6th Cir. 1983) (collecting cases). There is nothing more to the standard.

                               Plaintiff’s counsel would be remiss if he did not address the egregious

                         misrepresentations set forth in the “Standard of Review” section in Defendant

                         Berryman’s brief in support. Citing Am. Elec. Power Co., Inc. v. U.S., 191 F.R.D.

                         132 (S.D. Ohio 1999), Defendant Berryman claims that “Michigan Millers Mutual

                         Insurance Company’s [sic; AmeriTrust Group’s] status as a non-party to this


                                                                   -1-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1450     Page 10 of 30




                         litigation must weigh as a factor against disclosure.” Defendant’s Brief in Support,

                         p. 2. This is a blatant misrepresentation of law to the Court. What the Court in

                         Am. Elec. Power Co., Inc. held was that Courts have found unusual circumstances

                         for a deponent’s failure to serve written objections to a subpoena within the time

                         specified by Rule 45 where “(1) the subpoena is overbroad on its face and exceeds

                         the bounds of fair discovery; (2) the subpoenaed witness is a non-party acting in

                         good faith; and (3) counsel for the witness and counsel for the subpoenaing party

                         were in contact concerning the witness’ compliance prior to the time the witness

                         challenged the legal basis for the subpoena.” Am. Elec. Power Co., Inc., 191
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                         F.R.D. at 136-37 (emphasis added). Absolutely nothing in this decision stands for

                         the proposition that one’s “status as a non-party to this litigation must weigh as a

                         factor against disclosure.” Defendant’s Brief in Support, p. 2. In fact, the Am.

                         Elec. Power Co., Inc. Court expressly held the opposite: a non-party deponent’s

                         “status as a non-party does not relieve it of its obligations to respond to proper

                         discovery requests or to comply with the applicable rules,” Am. Elec. Power Co.,

                         Inc., 191 F.R.D. at 136–37, and it says absolutely nothing about a deponent’s status

                         as a non-party weighing as a factor against disclosure. MICH. R. PROF. CON., Rule

                         3.3 (“A lawyer shall not knowingly make a false statement of material fact or law

                         to a tribunal or fail to correct a false statement of material fact or law previously

                         made to the tribunal by the lawyer.”)



                                                                   -2-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18       PageID.1451    Page 11 of 30




                               Likewise, Defendant Berryman cites Hendricks v. Total Quality Logistics,

                         L.L.C., 275 F.R.D. 251, 253 (S.D. Ohio 2011) for the proposition that “the party

                         who issued the subpoena has the burden of establishing a need for the breadth of

                         the information sought in response to a non-party’s prima facie showing that the

                         discovery would be burdensome” despite the fact that neither this phrase nor even

                         the word burdensome appears anywhere in that decision. Moreover, Plaintiff, as

                         the party who issued the subpoena, does not have the burden of establishing a need

                         for the breadth of the information sought in response to a non-party’s prima facie

                         showing that the discovery would be burdensome because AmeriTrust Group has
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                         made no prima facie showing that the discovery would be burdensome nor has

                         Defendant Berryman posited any such argument.

                               “The burden of establishing the existence of the privilege rests with the

                         person asserting it.” In re Grand Jury Investigation No. 83-2-35, 723 F.2d 447

                         (6th Cir. 1983) (collecting cases). There is nothing more to the standard despite.




                                                                 -3-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18       PageID.1452      Page 12 of 30




                                                           ARGUMENTS

                               I. THE COURT SHOULD DENY DEFENDANT
                                  BERRYMAN’S REQUEST TO QUASH PLAINTIFF’S
                                  SUBPOENA AND TO ISSUE A PROTECTIVE ORDER
                                  WHERE IT IS UNTIMELY.

                               Objections to a subpoena must be served “before the earlier of the

                         time specified for compliance or 14 days after the subpoena is served.” FED.

                         R. CIV. P. 45(d)(2)(B). “The failure to serve written objections to a

                         subpoena within the time specified by Rule 45 typically constitutes a waiver

                         of such objections.” Am. Elec. Power Co., Inc., 191 F.R.D. at 136. “In

                         unusual circumstances and for good cause, however, the failure to act timely
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                         will not bar consideration of objections.” Id. (internal quotations and

                         citation omitted). “Courts have found unusual circumstances where: (1) the

                         subpoena is overbroad on its face and exceeds the bounds of fair discovery;

                         (2) the subpoenaed witness is a non-party acting in good faith; and (3)

                         counsel for the witness and counsel for the subpoenaing party were in

                         contact concerning the witness’ compliance prior to the time the witness

                         challenged the legal basis for the subpoena.” Id. at 136-37 (emphasis

                         added).

                               None of the unusual circumstances apply in this instance. First,

                         Plaintiff’s subpoena is not overbroad on its face nor does it exceed the

                         bounds of fair discovery. Insurance claims files are produced in litigation

                                                                 -4-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18               PageID.1453      Page 13 of 30




                         probably everyday throughout the country. There is nothing overbroad or

                         excessive about such requests.

                                Second, Defendant Berryman is not a non-party to this action. In fact,

                         he is a named Defendant. Plaintiff would further submit that even making

                         the present objection establishes that he is not acting in good faith either.

                                Lastly, AmeriTrust Group’s counsel and Plaintiff’s counsel have not

                         been in contact concerning AmeriTrust Group’s compliance prior to the time

                         AmeriTrust Group challenged the legal basis for the subpoena. In fact,

                         personnel contacted Plaintiff’s counsel’s office weeks before Defendant
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                         Berryman posed the present request in an effort to obtain the claim number

                         so it could produce the requested documents. In short, not a single one of

                         the three elements for establishing unusual circumstances apply in the

                         instant cxase. Accordingly, Defendant Berryman’s Motion to Quash the

                         Document Production Subpoena Directed to Ameritrust Group must be

                         denied.1




                         1
                           Plaintiff’s counsel would note that during the period when Defendant Berryman could have
                         posed a timely objection to Plaintiff’s subpoena to Ameritrust Group Defendant Berryman was
                         busy engaging in conduct such as attempting to subpoena Plaintiff’s Character and Fitness file
                         from the National Conference of Bar Examiners and Michigan Board of Law Examiners. If
                         Defendant Berryman truly desired to object to Plaintiff’s subpoena to Ameritrust Group, he
                         could have easily done so in a timely manner instead of pursuing discovery requests intended to
                         harass Plaintiff and to needlessly increase the costs of the present litigation.


                                                                       -5-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18        PageID.1454    Page 14 of 30




                               II. THE COURT SHOULD DENY DEFENDANT
                                   BERRYMAN’S REQUEST TO QUASH PLAINTIFF’S
                                   SUBPOENA AND TO ISSUE A PROTECTIVE ORDER
                                   WHERE THE DOCUMENTS REQUESTED IN
                                   PLAINTIFF’S NOVEMBER 6, 2018, SUBPOENA TO THE
                                   CITY OF ADRIAN’S INSURER, AMERITRUST GROUP,
                                   ARE NOT PROTECTED BY THE ATTORNEY-CLIENT
                                   PRIVILEGE.

                               A.     Privilege: A Narrow Exception, Not a Broad Rule

                               “For more than three centuries it has now been recognized as a fundamental

                         maxim that the public ... has a right to every man’s evidence.” Jaffee v. Redmond,

                         518 U.S. 1, 9 (1996) (internal quotation marks omitted). Courts “start with the

                         primary assumption that there is a general duty to give what testimony one is
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                         capable of giving, and that any exemptions which may exist are distinctly

                         exceptional, being so many derogations from a positive general rule.” Id. (internal

                         quotation marks and citations omitted). See also Trammel v. U.S., 445 U.S. 40, 50-

                         51 (1980) (“Testimonial exclusionary rules and privileges contravene the

                         fundamental principle that the public . . . has a right to every man’s evidence.”)

                         “As such, they must be strictly construed and accepted only to the very limited

                         extent that permitting a refusal to testify or excluding relevant evidence has a

                         public good transcending the normally predominant principle of utilizing all

                         rational means for ascertaining truth.” Id. (internal quotation marks and citations

                         omitted).




                                                                  -6-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1455     Page 15 of 30




                               B.      Attorney-Client Privilege

                               “The attorney-client privilege exists to protect confidential communications

                         between a lawyer and his client in matters that relate to the legal interests of

                         society and the client.” In re Grand Jury Investigation No. 83-2-35, 723 F.2d 447,

                         451 (6th Cir. 1983). “The policy behind protecting confidential communications is

                         self-evident: In order to promote freedom of consultation of legal advisors by

                         clients, the apprehension of compelled disclosure from the legal advisors must be

                         removed; hence the law must prohibit such disclosure except on the client’s

                         consent.” Id.
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                               In the Sixth Circuit, the essential elements of the attorney-client
                               privilege are:

                                    (1) Where legal advice of any kind is sought (2) from a
                                    professional legal adviser in his capacity as such, (3) the
                                    communications relating to that purpose, (4) made in confidence
                                    (5) by the client (6) are at his instance permanently protected (7)
                                    from disclosure by himself or by the legal adviser (8) except the
                                    protection be waived.

                         E.E.O.C. v. Texas Hydraulics, Inc., 246 F.R.D. 548, 554 (E.D. Tenn. 2007).

                               “Since the attorney-client privilege may serve as a mechanism to frustrate

                         the investigative or fact-finding process, it creates an inherent tension with

                         society’s need for full and complete disclosure of all relevant evidence during

                         implementation of the judicial process.” In re Grand Jury Investigation No. 83-2-




                                                                   -7-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1456    Page 16 of 30




                         35, 723 F.2d at 451. “As a derogation of the search for truth, the privilege is to be

                         narrowly construed.” Id.

                               There are several problems with Defendant Berryman’s argument. First,

                         “Michigan courts have recognized that the interrelationship among defense

                         counsel, the insured and the insurer ‘contains rife possibility of conflict.’” Central

                         Michigan Bd. of Trustees v. Employers Reinsurance Corp., 117 F. Supp. 2d 627,

                         636 (E.D. Mich. 2000) (quoting Atlanta International Ins. Co. v. Bell, 475 N.W.2d

                         294 (1991) (emphasis omitted))

                               Although an attorney is selected by an insurance company, the fees
                               charged are paid by the insurance company as a benefit for which the
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                               insured has contracted, not because there is a duty of allegiance by the
                               attorney to the insurer which eclipses the duty to the insured. The
                               primary duty of the attorney is always to the client, not to the entity
                               who happens to be paying the bill.

                         Central Michigan Bd. of Trustees, 117 F. Supp. 2d at 636 (citation omitted).

                               Thus, “‘courts have consistently held that the defense attorney’s primary

                         duty of loyalty lies with the insured, and not the insurer.’” Central Michigan Bd.

                         of Trustees, 117 F. Supp. 2d at 636 (citation omitted). As a result, “it is well-

                         settled law in Michigan that in cases in which an insurance carrier hires counsel to

                         defend an insured, it is the insured and not the carrier who is the client.” McClarty

                         v. Gudenau, 173 B.R. 586, 601 (E.D. Mich. 1994). See similarly Kirschner v.

                         Process Design Associates, Inc., 592 N.W.2d 707, 711 (Mich. 1999) (“‘[N]o

                         attorney-client relationship exists between an insurance company and the attorney

                                                                  -8-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1457     Page 17 of 30




                         representing the insurance company’s insured. The attorney’s sole loyalty and

                         duty is owed to the client, not to the insurer.’”) (Citation omitted.), Koster v. June’s

                         Trucking, Inc., 625 N.W.2d 82, 84 (Mich. App. 2000) (“[W]e conclude that there

                         was no attorney-client relationship between Michigan Mutual and the attorney

                         retained to represent its insureds and, as a result, Michigan Mutual cannot assert

                         any attorney-client privilege.

                               Even assuming arguendo that an attorney-client relationship somehow

                         existed between Defendant Berryman’s attorneys and the City of Adrian’s insurer

                         – which it does not – Defendant Berryman lacks standing to assert the privilege on
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                         behalf of the Ameritrust Group. Ameritrust Group has not appeared in this matter

                         or otherwise objected to the production of the subpoenaed information, and

                         Defendant Berryman’s attempt to assert Ameritrust Group’s privilege by proxy is

                         wholly inappropriate.

                               Moreover, again assuming arguendo that an attorney-client relationship

                         somehow existed between Defendant Berryman’s attorneys and the City of

                         Adrian’s insurer, “‘[a] communication is not privileged simply because it is made

                         by or to a person who happens to be an attorney.’” Zigler v. Allstate Ins. Co., 2007

                         WL 1087607, at *1 (N.D. Ohio Apr. 9, 2007) (citation omitted). “To be

                         privileged, the communication must have the ‘primary purpose of soliciting legal,

                         rather than business, advice.’” Id. Because of its very narrow scope, “[t]he



                                                                   -9-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1458     Page 18 of 30




                         privilege only protects disclosure of communications; it does not protect disclosure

                         of the underlying facts by those who communicated with the attorney.” Upjohn

                         Co. v. U.S., 449 U.S. 383, 395 (1981). See also Humphreys, Hutcheson and

                         Moseley v. Donovan, 755 F.2d 1211, 1219 (6th Cir. 1985).

                               “[T]he protection of the privilege extends only to communications and
                               not to facts. A fact is one thing and a communication concerning that
                               fact is an entirely different thing. The client cannot be compelled to
                               answer the question, ‘What did you say or write to the attorney?’ but
                               may not refuse to disclose any relevant fact within his knowledge
                               merely because he incorporated a statement of such fact into his
                               communication to his attorney.”

                               “In general, the fact of legal consultation or employment, clients’ identities,
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                         attorney’s fees, and the scope and nature of employment are not deemed

                         privileged.” Humphreys, Hutcheson and Moseley v. Donovan, 755 F.2d at 1219

                         (holding that “the attorney-client privilege does not protect the identity of a client

                         except in very limited circumstances”; “the amount of money paid or owed by a

                         client to his attorney is not privileged except in exceptional circumstances ....”)

                               As Defendant Berryman’s counsel well knows, a proper assertion of the

                         attorney-client privilege requires that the objecting party produce a privilege log.

                               (A) Information Withheld. When a party withholds information
                               otherwise discoverable by claiming that the information is privileged
                               or subject to protection as trial-preparation material, the party must:

                                   (i) expressly make the claim; and

                                   (ii) describe the nature of the documents, communications, or
                                   tangible things not produced or disclosed – and do so in a

                                                                  - 10 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18          PageID.1459      Page 19 of 30




                                     manner that, without revealing information itself privileged or
                                     protected, will enable other parties to assess the claim.

                         FED. R. CIV. P. 26(b)(5) (emphasis added).

                               “‘[I]nformation provided [in a privilege log] must be sufficient to enable the

                         court to determine whether each element of the asserted privilege or protection is

                         satisfied.’” Cooey v. Strickland, 269 F.R.D. 643, 649 (S.D. Ohio 2010) (citations

                         omitted).

                               Courts require the following to be included in privilege logs:

                               1. A description of the document explaining whether the document is
                                  a memorandum, letter, e-mail, etc.;
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                               2. The date upon which the document was prepared;

                               3. The date of the document (if different from # 2);

                               4. The identity of the person(s) who prepared the document;

                               5. The identity of the person(s) for whom the document was
                                  prepared, as well as the identities of those to whom the document
                                  and copies of the document were directed, “including an
                                  evidentiary showing based on competent evidence supporting any
                                  assertion that the document was created under the supervision of
                                  an attorney;”

                               6. The purpose of preparing the document, including an evidentiary
                                  showing, based on competent evidence, “supporting any assertion
                                  that the document was prepared in the course of adversarial
                                  litigation or in anticipation of a threat of adversarial litigation that
                                  was real and imminent;” a similar evidentiary showing that the
                                  subject of communications within the document relates to seeking
                                  or giving legal advice; and a showing, again based on competent
                                  evidence, “that the documents do not contain or incorporate non-
                                  privileged underlying facts;”

                                                                   - 11 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1460      Page 20 of 30




                               7. The number of pages of the document;

                               8. The party’s basis “for withholding discovery of the document (i.e.,
                                  the specific privilege or protection being asserted); and

                               9. Any other pertinent information necessary to establish the elements
                                  of each asserted privilege.”

                         Cooey, 269 F.R.D. at 649 (citation omitted).

                               “The privilege log must be detailed enough to prove that the

                         communications in question were in fact confidential communications relating to

                         legal advice.” Id. (citation omitted). “[M]erely conclusory statements may not be

                         enough to satisfy this minimal standard.” Cooey, 269 F.R.D. at 649. “A ‘cryptic
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                         privilege log’ does not satisfy this standard if ‘review of the documents themselves

                         fails to reveal whether they were produced or transmitted in the course of legal

                         representation.’” Id. (citations omitted). “‘[I]f the party invoking the privilege

                         does not provide sufficient detail to demonstrate fulfillment of the legal

                         requirements for application of the privilege, his claim will be rejected.’” Id.

                         (citations omitted).

                               The sufficiency vel non of Defendant Berryman’s privilege log need not

                         detain the Court for very long because Defendant Berryman has simply chosen to

                         assert privilege without providing anyone any privilege log whatsoever. “‘[I]f the

                         party invoking the privilege does not provide sufficient detail to demonstrate

                         fulfillment of the legal requirements for application of the privilege, his claim will

                                                                  - 12 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1461    Page 21 of 30




                         be rejected.’” Id. (citations omitted). See also Glidden Co. v. Jandernoa, 173

                         F.R.D. 459, 483 (W.D. Mich. 1997) (“The court has cautioned the parties on more

                         than one occasion that their privilege logs must be complete, such that the court

                         can judge the propriety of the assertion of privilege by reference to the privilege

                         log. .... Where, as here, a privilege log does not provide enough information to

                         support the privilege claim, the assertion of privilege may be rejected on that basis.

                         .... For this reason, the assertion of privilege with regard to the following

                         documents listed on Exhibit A to docket # 203 is rejected ....”), Guy v. United

                         Healthcare Corp., 154 F.R.D. 172, 178 (S.D. Ohio 1993) (“The privilege log
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                         provided by defendant, however, fails to describe or in any way refer to any

                         documents apparently numbered 75 through 81. Defendant has therefore failed to

                         carry its burden of establishing the attorney-client privilege or work product

                         doctrine for documents 75 through 81, and must therefore produce them.”)

                               Defendant Berryman’s blanket assertion of the attorney-client privilege

                         brings a carpenter’s hammer to a job requiring surgical skills. As the Court in

                         Wright v. Jeep Corp., 547 F. Supp. 871 (E.D. Mich. 1982) stated:

                               The respondent also says that the material is confidential and should,
                               therefore, be protected. There is really no evidence in this case that
                               any of the material is confidential and the court need not consider
                               whether confidential material should be protected. In any event, a
                               claim of confidential material is insufficient to support a blanket
                               exemption.

                         Id. at 875.

                                                                  - 13 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1462     Page 22 of 30




                               Similarly, the remedy of quashing a subpoena based upon a blanket assertion

                         of privilege unsupported by a privilege log is simply not a remedy available at law.

                         “It should go without saying that the court should never be required to undertake in

                         camera review unless the parties have first properly asserted privilege/protection,

                         then provided sufficient factual information to justify the privilege/protection

                         claimed for each document, and, finally, met and conferred in a good faith effort to

                         resolve any disputes without court intervention.” In re Haynes, 577 B.R. 711, 738

                         (Bankr. E.D. Tenn. 2017).

                               Thus, insuring that a privilege or protection claim is properly asserted
                               in the first instance and maintained thereafter involves a several step
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                               process. First, pursuant to Fed. R. Civ. P. 26(b)(5), the party
                               asserting privilege/protection must do so with particularity for each
                               document, or category of documents, for which privilege/protection is
                               claimed. At this first stage, it is sufficient to meet the initial burden by
                               a properly prepared privilege log. If, after this has been done, the
                               requesting party challenges the sufficiency of the assertion of
                               privilege/protection, the asserting party may no longer rest on the
                               privilege log, but bears the burden of establishing an evidentiary
                               basis – by affidavit, deposition transcript, or other evidence – for each
                               element of each privilege/protection claimed for each document or
                               category of document. A failure to do so warrants a ruling that the
                               documents must be produced because of the failure of the asserting
                               party to meet its burden. If it makes this showing, and the requesting
                               party still contests the assertion of privilege/protection, then the
                               dispute is ready to submit to the court, which, after looking at the
                               evidentiary support offered by the asserting party, can either rule on
                               the merits of the claim or order that the disputed documents be
                               produced for in camera inspection.

                         In re Haynes, 577 B.R. at 740 (all emphasis added). See also U.S. v. Zolin, 491

                         U.S. 554, 572 (1989) (“Before engaging an in camera review to determine the

                                                                  - 14 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18           PageID.1463     Page 23 of 30




                         applicability of the crime-fraud exception, ‘the judge should require a showing of a

                         factual basis adequate to support a good faith belief by a reasonable person,’ ... that

                         in camera review of the materials may reveal evidence to establish the claim that [a

                         privilege] applies.”)

                               Defendant Berryman should not be permitted to shirk the heavy-lifting off

                         onto the Court without first filing a detailed privilege log which comports with the

                         detailed requirements set forth in Cooey, supra. Accordingly, Defendant

                         Berryman’s Motion to Quash the Document Production Subpoena Directed to

                         Ameritrust Group must be denied.
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                               III. THE COURT SHOULD DENY DEFENDANT
                                    BERRYMAN’S REQUEST TO QUASH PLAINTIFF’S
                                    SUBPOENA AND TO ISSUE A PROTECTIVE ORDER
                                    WHERE THE DOCUMENTS REQUESTED IN
                                    PLAINTIFF’S NOVEMBER 6, 2018, SUBPOENA TO THE
                                    CITY OF ADRIAN’S INSURER, AMERITRUST GROUP,
                                    ARE NOT PROTECTED BY THE ATTORNEY WORK
                                    PRODUCT PRIVILEGE.

                               “The work-product doctrine protects an attorney’s trial preparation materials

                         from discovery to preserve the integrity of the adversarial process.” In re

                         Professionals Direct Ins. Co., 578 F.3d 432, 438 (6th Cir. 2009). The doctrine is

                         governed by FED. R. CIV. P. 26(b)(3), which “protects (1) ‘documents and tangible

                         things’; (2) ‘prepared in anticipation of litigation or for trial’; (3) ‘by or for another

                         party or its representative.’” Id. “To determine whether a document has been



                                                                   - 15 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1464     Page 24 of 30




                         prepared ‘in anticipation of litigation,’ and is thus protected work product, we ask

                         two questions: (1) whether that document was prepared ‘because of’ a party’s

                         subjective anticipation of litigation, as contrasted with ordinary business purpose;

                         and (2) whether that subjective anticipation was objectively reasonable.” In re

                         Professionals Direct Ins. Co., 578 F.3d at 438. “[T]he burden is on the party

                         claiming protection to show that anticipated litigation was the ‘driving force

                         behind the preparation of each requested document.’” In re Professionals Direct

                         Ins. Co., 578 F.3d at 438.

                               Defendant Berryman again posits a barebones, blanket assertion of privilege
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                         without first providing a sufficiently detailed privilege log. Thus, for all of the

                         aforementioned reasons, Defendant Berryman’s Motion to Quash the Document

                         Production Subpoena Directed to Ameritrust Group must be denied.


                               IV. THE COURT SHOULD DENY DEFENDANT
                                   BERRYMAN’S REQUEST TO QUASH PLAINTIFF’S
                                   SUBPOENA AND TO ISSUE A PROTECTIVE ORDER
                                   WHERE THE DOCUMENTS REQUESTED IN
                                   PLAINTIFF’S NOVEMBER 6, 2018, SUBPOENA TO THE
                                   CITY OF ADRIAN’S INSURER, AMERITRUST GROUP,
                                   ARE RELEVANT AND PROPORTIONAL TO THE
                                   NEEDS OF THE CASE.

                               “The general scope of discovery is defined by FED. R. CIV. P. 26(b)(1) ….”

                         Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 350 (1978).

                               “Parties may obtain discovery regarding any matter, not privileged,
                               which is relevant to the subject matter involved in the pending action,

                                                                  - 16 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1465     Page 25 of 30




                               whether it relates to the claim or defense of the party seeking
                               discovery or to the claim or defense of any other party, including the
                               existence, description, nature, custody, condition and location of any
                               books, documents, or other tangible things and the identity and
                               location of persons having knowledge of any discoverable matter.”

                         Id. at 350-51 (quoting FED. R. CIV. P. 26(b)(1)).

                               The Court should and interpret “relevant” broadly “‘to mean matter that is

                         relevant to anything that is or may become an issue in the litigation.’” Id. at 363

                         n.12 (citation omitted). See also Med. Ctr. at Elizabeth Place, LLC v. Premier

                         Health Partners, 294 F.R.D. 87, 92 (S.D. Ohio 2013) (“Relevance for discovery

                         purposes is extremely broad.”) “[T]he deposition-discovery rules are to be
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                         accorded a broad and liberal treatment to effect their purpose of adequately

                         informing the litigants in civil trials.” Herbert v. Lando, 441 U.S. 153, 177 (1979).

                         Accord Schlagenhauf v. Holder, 379 U.S. 104, 114–15 (1964), Hickman v. Taylor,

                         329 U.S. 495, 507 (1947). Thus, “[t]he Federal Rules of Civil Procedure

                         (F.R.C.P.) authorize ‘extremely broad’ ... discovery.” U.S. v. Leggett & Platt,

                         Inc., 542 F.2d 655, 657 (6th Cir. 1976) (emphasis added, quoting C. Wright, LAW

                         OF FEDERAL COURTS     § 81 at 355 (2d ed. 1970)). “Unless the requested documents

                         are either irrelevant or privileged, F.R.C.P. 26(b)(1), [a requesting party] [i]s

                         entitled to their production.” Id.

                               Defendant Berryman offers the following 95-word, half-page argument:

                               Here, Plaintiff cannot receive the document production he seeks
                               because it is not relevant to his claim and is not proportional to the

                                                                  - 17 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18           PageID.1466     Page 26 of 30




                               needs of the case. In Plaintiff’s Complaint he is alleging a violation of
                               the first amendment, procedural and substantive due process violation,
                               equal protection violation, conspiracy to violation civil rights, abuse
                               of process, civil conspiracy, and a claim for intentional infliction of
                               emotional distress.

                               Insurance documents maintained by a carrier, administrator or claim
                               agent are undeniably relevant to the case at bar and definitely not
                               proportional to any of Plaintiff’s discovery needs.[2]

                         Defendant’s Brief, pp. 5-6 (emphasis added).

                               How Defendant Berryman reached these broad sweeping conclusions

                         without any citation to legal authority or other meaningful analysis can, once

                         again, only leave the Court to guess as to the ratio decidendi that causes Defendant
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                         Berryman to deduce these highly self-serving conclusions. Clearly, a claims file

                         pertaining to this matter is highly relevant as it most likely contains evidence of

                         Defendant Berryman’s conduct, the City of Adrian’s position regarding Defendant

                         Berryman’s conduct, whether Ameritrust Group treated Plaintiff’s claim seriously

                         by setting aside sufficient reserves to cover a potential damages award, etc.

                               Perhaps most importantly, however, the City of Adrian refused to pay for

                         Defendant Berryman’s attorney in the state court matter, forcing Defendant

                         Berryman to use his own personal resources to secure legal counsel. This implies

                         that (a) the City of Adrian refused to submit Defendant Berryman’s request for

                         indemnification to the Ameritrust Group, or (b) the Ameritrust Group refused to

                         2
                          Defendant Berryman presumably meant to say that insurance documents maintained by a
                         carrier, administrator or claim agent are undeniably irrelevant to the case at bar.


                                                                   - 18 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18        PageID.1467    Page 27 of 30




                         provide such coverage. Both of these implications are at odds with the Ameritrust

                         Group’s present indemnification of Defendant Berryman. This fact alone makes

                         the Ameritrust Group’s claims file regarding both the state matter and this matter

                         “relevant to the subject matter involved in the pending action, whether it relates to

                         the claim or defense of the party seeking discovery or to the claim or defense of

                         any other party ....” FED. R. CIV. P. 26(b)(1).

                               Insurance documents maintained by Ameritrust Group are proportional to

                         Plaintiff’s discovery needs – whatever that even means – insofar as claims files are

                         routinely produced in federal and state litigation throughout the country. There
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                         simply is nothing “disproportional” about producing such business records.

                         Accordingly, Defendant Berryman’s Motion to Quash the Document Production

                         Subpoena Directed to Ameritrust Group must be denied.




                                                                  - 19 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18        PageID.1468   Page 28 of 30




                                                              RELIEF

                               WHEREFORE, Plaintiff respectfully requests that the Court enter an Order

                         denying Defendant Berryman’s Motion to Quash the Document Production

                         Subpoena Directed to Ameritrust Group and awarding any other relief to which it

                         may appear Plaintiff is entitled.

                                                                     Respectfully submitted,

                                                                     /s/ Issa G. Haddad
                                                                     ______________________________
                                                                     HADDAD LAW FIRM, PLC
                                                             By:     Issa G. Haddad (P71699)
                                                                     Attorney for Respondent
                                                                     30600 Telegraph Road, Suite 3150
Haddad Law Firm, PLC.




                                                                     Bingham Farms, Michigan 48025
                         Dated: December 12, 2018                    (248) 633-8500




                                                                   - 20 -
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18       PageID.1469   Page 29 of 30


                                              UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF MICHIGAN
                                                   SOUTHERN DIVISION

                         WENDELL SHANE MACKEY,

                               Plaintiff,
                                                                        Case No. 2:17-cv-12359
                         v.
                                                                        JUDGE BERNARD A. FRIEDMAN
                         JAMES MICHAEL BERRYMAN,
                         Mayor of the City of Adrian, Michigan;         MAGISTRATE DAVID R. GRAND
                         MARGARET M.S. NOE, Judge of the
                         Lenawee County Circuit Court,

                               Defendants.

                         HADDAD LAW FIRM, PLC                           ROSATI, SCHULTZ, JOPPICH &
                         By: Issa G. Haddad (P71699)                    AMTSBUECHLER PC
Haddad Law Firm, PLC.




                         Attorney for Plaintiff                         By: Holly S. Battersby (P72023)
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                         (313) 446-5501
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                                                  CERTIFICATE OF SERVICE

                               The undersigned certifies that s/he served a copy of Plaintiff’s Response to

                         Defendant Berryman’s Motion to Quash the Document Production Subpoena

                                                                  -1-
                        Case 2:17-cv-12359-BAF-DRG ECF No. 37 filed 12/12/18         PageID.1470     Page 30 of 30


                         Directed to Ameritrust Group, a Brief in Support, and this Proof of Service upon

                         all parties of record, or their counsel if represented, by uploading said papers to the

                         Case Management / Electronic Case Files system for electronic transmission to the

                         Court and to all parties of record, or their counsel if represented on the date set

                         forth below.


                         Dated: December 12, 2018                        /s/ Issa G. Haddad
                                                                         Affiant
Haddad Law Firm, PLC.




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